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                                                         U.S. Department of Justice

                                                         Matthew M. Graves
                                                         United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                       December 6, 2021

Via Email
Steven Kiersh
Counsel for John Earle Sullivan
5335 Wisconsin Avenue, N.W., Suite 440
Washington, D.C. 20015
skiersh@aol.com

       Re:      United States v. John Earle Sullivan
                Case No. 1:21-cr-00078-EGS

Dear Counsel:

        The enclosed letter memorializes the provision of the following additional discovery in
this case, via filesharing (unless otherwise indicated):

             1. 7-page Intermountain West RCFL report regarding extractions of seized
                devices (also transmitted via email on 11/17/2021)
             2. Preliminarily scoped extractions from defendant’s extracted, seized
                devices (includes 5 folders: “_img,” “_style,” “FileList,” “Photos,” and
                “Report” hard drive; in turn, the “Report” folder includes 4 subfolders:
                “Audio_Voicemail,” “Discord,” “Full” and “iphone”) (separately
                transmitted via external hard drive)
             3. YouTube search warrant production for 9/13/2021 warrant (6 folders)
                (separately transmitted via external hard drive)
             4. 302s reviewing additional CCTV of defendant dated 10/14/2021 and
                11/8/2021
             5. 302 reviewing YouTube search warrant returns dated 10/14/2021
             6. YouTube second search warrant dated 11/18/2021 and return
             7. Search warrant photos (377 files, zipped)
             8. Twitter search warrant production retransmitted in different format
                (organized by 10 username folders rather than URLs #1-5) (zipped)
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           9. SENSITIVE: D-14 video of exit from House door obtained through legal
               process (“IMG_0774”)
           10. D-14 open-source interview relating to defendant from 1/8/2021
           11. Defendant video from on or about 1/9/2021 posted at
               https://www.youtube.com/watch?v=sLVU0sVhcL8&t=336s
                   a. “John Sullivan (Jayden X), the BLM activist guy, who recorded
                       Ashli Babbitt’s death in the Capitol”
           12. Three additional YouTube videos of defendant:
                   a. “Capitol Police Planned the Attack on the U.S. Capitol”
                   b. “Frontline Footage Of Inside The U.S. Capitol Riot”
                   c. “Unseen Footage Before The U.S. Capitol Riot”

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is being provided pursuant to the Protective Order issued in this case.
Please adhere to sensitivity markings.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,




                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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